 Case 5:01-cr-00004       Document 731        Filed 01/19/10     Page 1 of 3 PageID #: 2715




                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                        BECKLEY DIVISION


UNITED STATES OF AMERICA,

                                 Plaintiff,

v.                                                  CRIMINAL ACTION NO. 5:01-cr-00004-01

CEDRIC LOVELLE GRAY,

                                 Defendant.


                  MEMORANDUM OPINION AND JUDGMENT ORDER

       Pending before the Court is a motion, brought pursuant to 18 U.S.C. § 3582(c)(2), to reduce

Defendant’s sentence based on a subsequent reduction in the applicable sentencing guideline. On

November 1, 2007, the United States Sentencing Guidelines were amended to reduce by two levels

the guidelines in Section 2D1.1 for cocaine base (also known as crack). Subsequently, the

Sentencing Commission amended Section 1B1.10 to make the crack amendment retroactive,

effective March 3, 2008. Pursuant to a Standing Order entered on February 6, 2008, this case was

designated for Standard consideration.

       The Court has received and considered the original Presentence Investigation Report (PSI),

original Judgment and Commitment Order and Statement of Reasons, and addendum to the PSI

from the Probation Office, and received any materials submitted by the parties on this issue. The

Court has also considered the applicable factors under 18 U.S.C. § 3553(a), consistent with §

3582(c)(2), and public safety.
 Case 5:01-cr-00004          Document 731         Filed 01/19/10      Page 2 of 3 PageID #: 2716




          By its written and filed response, the United States does not object to the reduction ordered

herein.

          Based on the foregoing considerations, the Motion is GRANTED. The Court ORDERS that

Defendant’s base offense level be reduced by 2 levels, resulting in a new total offense level of 37.

It is further ORDERED that Defendant’s previous sentence be reduced to a period off 175 months,

with credit for time served to date.* This Order is subject to the prohibition contained within

U.S.S.G. §1B1.10(b)(2)(C).



          *
         In determining the extent to which the sentence may be reduced, this Court may take into
account the fact that Defendant previously received a downward departure from the then-applicable
guideline range from a range of 360 months to life to a sentence of 216 months based on a
substantial assistance motion from the Government. In authorizing a reduced sentence based on a
retroactive amendment to a guideline, the Sentencing Commission stated: “If the original term of
imprisonment was less than the term of imprisonment provided by the guideline range applicable
to the defendant at the time of sentencing, a reduction comparably less than the amended guideline
range determined under subdivision (1) may be appropriate . . . .” U.S.S.G. §1B1.10(b)(2)(B) app.
n. 3. For example, the application note provides:

          [I]n a case in which: (A) The guideline range applicable to the defendant at the time
          of sentencing was 70 to 87 months; (B) the defendant’s original term of
          imprisonment imposed was 56 months (representing a downward departure of 20
          percent below the minimum term of imprisonment provided by the guideline range
          applicable to the defendant at the time of sentencing); and (C) the amended guideline
          range determined under subsection (b)(1) is 57 to 71 months, a reduction to a term
          of imprisonment of 46 months (representing a reduction of approximately 20 percent
          below the minimum term of imprisonment provided by the amended guideline range
          determined under subsection (b)(1)) would amount to a comparable reduction and
          may be appropriate.

Id.
        In this case, the bottom of the original guideline range was 360 months. However, the
Defendant’s offense of conviction capped his sentence at the statutory maximum of 240 months.
The Court imposed a sentence of 216 months. That constituted a reduction of 40% below the
original guideline range of 360 months. Thus, the new reduction authorized by the Sentencing
Commission is also 40% below the new guideline minimum of 292 months -- that figure is 175
months.

                                                   -2-
 Case 5:01-cr-00004       Document 731       Filed 01/19/10      Page 3 of 3 PageID #: 2717




       The Court DIRECTS the Clerk to send a copy of this Order to Defendant and counsel, the

United States Attorney, the United States Probation Office, and the United States Marshals.

                                            ENTER:         January 19, 2010




                                              -3-
